                    Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 1 of 15




 1   ROBERT M. SUSSMAN
     SUSSMAN & ASSOCIATES
 2   3101 Garfield Street, NW
 3   Washington, DC 20008
     (202) 716-0118
 4   Email: bobsussman1@comcast.net

 5   RICHARD TOSHIYUKI DRURY (Cal. Bar No. 163559)
     LOZEAU DRURY LLP
 6   1939 Harrison Street, Suite 150
 7   Oakland, CA 95612
     (510) 836-4200
 8   Email: Richard@LozeauDrury.com

 9   Attorneys for Plaintiffs
10
                                      UNITED STATES DISTRICT COURT
11                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
12

13   ASBESTOS DISEASE AWARENESS                     )
     ORGANIZATION, AMERICAN PUBLIC                  )
14   HEALTH ASSOCIATION, CENTER FOR                 )
     ENVIRONMENTAL HEALTH,                          )
15   ENVIRONMENTAL INFORMATION                      )
     CENTER, SAFER CHEMICALS HEALTHY                )
16   FAMILIES - A PROGRAM OF TOXIC-FREE             ) Civil Action No.
     FUTURE, VERMONT PUBLIC INTEREST                )
17   RESEARCH GROUP, BARRY                          )
     CASTLEMAN, SCD, ARTHUR FRANK, MD,              )
18   PHD, RAJA FLORES, MD, PHILIP                   )
     LANDRIGAN, MD, MSC, RICHARD                    ) COMPLAINT FOR DECLARATORY
19   LEMEN, PHD, MSPH,                              ) AND INJUNCTIVE RELIEF
     CELESTE MONFORTON, DRPH, MPH                   )
20                                                  )
                                 Plaintiffs,        )
21                  vs.                             )
                                                    )
22   MICHAEL REGAN, as Administrator of the         )
     United States Environmental Protection Agency, )
23                                                  )
     and the UNITED STATES ENVIRONMENTAL )
24   PROTECTION AGENCY                              )
                                                    )
25                               Defendants.        )
                                                    )
26

27
            Plaintiffs, Asbestos Disease Awareness Organization, American Public Health Association,
28
     Center for Environmental Health, Environmental Information Association, Safer Chemicals Healthy
                                                    1
                                                COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 2 of 15



     Families - A Program of Toxic-Free Future, Vermont Public Interest Research Group, Barry
 1
     Castleman, ScD, Raja Flores, MD, Arthur Frank, MD, PhD, Phillip Landrigan, MD, MSc, Richard
 2

 3   Lemen, PhD, MSPH, and Celeste Monforton, DrPH, MPH (Plaintiffs), as and for their Complaint,

 4   allege as follows against Defendants Michael Regan, as Administrator of the Environmental Protection
 5   Agency (EPA), and the EPA:
 6
                                           INTRODUCTORY STATEMENT
 7
          1.        Plaintiffs are nonprofit public health and environmental organizations and distinguished
 8
     asbestos experts and physicians committed to addressing the serious risk of cancer and disease that
 9

10   asbestos continues to pose to the US population. This suit is filed under section 20(a)(2) of the Toxic

11   Substances Control Act (TSCA) to compel defendants Michael Regan and EPA to perform their non-

12   discretionary duty to address the use and disposal of “legacy” asbestos in EPA’s risk evaluation for
13   asbestos under TSCA section 6(b).
14
          2.       Asbestos is imported in bulk and as part of several asbestos-containing products. In addition
15
     to these ongoing commercial uses, asbestos was widely distributed and sold for several decades as part of
16
     construction materials such as attic insulation, pipes, boilers, floor tiles, gaskets, shingles, siding and
17

18   roofing. These asbestos-containing building materials remain in use in millions of structures across the

19   US, including schools, factories, public buildings, commercial businesses, apartment buildings and

20   residences.
21
           3.       When it began its asbestos risk evaluation under TSCA in 2016, EPA claimed that the risks
22
     of legacy asbestos to workers, consumers, school children and teachers were beyond its authority under
23
     the law. As a result, it excluded legacy asbestos from its risk evaluation. However, in its November 14,
24
     2019 decision, the U.S. Court of Appeals for the Ninth Circuit held that the ongoing use and disposal of
25

26   chemicals no longer distributed in commerce are “conditions of use” as defined in section 3(4) of TSCA

27   and must be included in TSCA risk evaluations.
28

                                                        2
                                                    COMPLAINT
                      Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 3 of 15



          4.          EPA issued its final risk evaluation (FRE) for asbestos on December 30, 2020. However,
 1
     the FRE did not address the health impacts of legacy asbestos uses and associated disposal as required by
 2

 3   the Ninth Circuit. The Agency stated its intent to conduct a future “Part 2” evaluation focused on legacy

 4   asbestos but provided no specifics about how it would be conducted and failed to set a schedule for
 5   completing it.
 6
           5.         TSCA directed EPA to complete its asbestos evaluation by June 19, 2020. Because the
 7
     asbestos evaluation was required to assess the risks to human health of the use and disposal of legacy
 8
     asbestos under TSCA as construed by the Ninth Circuit, EPA failed to meet this deadline. Accordingly,
 9

10   defendants are in violation of a non-discretionary duty under section 20(a)(2) and the Court must issue an

11   order setting a deadline for carrying out this duty.

12                                          JURISDICTION AND VENUE
13         6.         This action is brought under section 20(a)(2) of TSCA, 15 U.S.C. § 2619(a)(2), which
14
     provides that any person may commence a civil action against the Administrator “to compel [him] to
15
     perform any act or duty under this Act which is not discretionary.”
16
           7.         Suits under section 20(a)(2) may be brought in the district court where the plaintiff is
17

18   domiciled and may be filed 60 days after the plaintiff has “given notice to the Administrator of the alleged

19   failure of [his] alleged failure to perform an act or duty which is the basis for such action.”

20         8.         Plaintiffs gave notice to defendants of their failure to discharge a mandatory duty on
21
     January 26, 2021 received no response.
22
           9.         This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §2619(a)(2).
23
           10.        This Court has the authority to grant the requested declaratory and injunctive relief under
24
     28 U.S.C. §§ 2201-2202 and 15 U.S.C. §2619(a)(2).
25

26         11.        Venue is proper in the Northern District of California pursuant to 28 U. S.C. §

27   1391(e)(1)(C) and 15 U.S.C. §2619(a)(2) because plaintiff CEH is domiciled in this District.
28

                                                          3
                                                      COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 4 of 15



                                                     PARTIES
 1

 2
            12.     Founded in 2004, plaintiff Asbestos Disease Awareness Organization (ADAO), an
 3
     independent 504(c)(3) non-profit organization, has spent over a decade working to prevent asbestos-
 4
     caused diseases. ADAO works nationally and internationally with the leading scientists, medical doctors,
 5
     industrial hygiene specialists, legislators and community advocates to protect public health and our
 6

 7   environment. As a leader in education, ADAO hosts an annual international academic conference, now in

 8   its 16th year, to promote scientific advances in the treatment and cure of asbestos disease and advocate for
 9   the elimination of all asbestos exposures throughout the world. ADAO has been involved in efforts
10
     related to TSCA reform and the passage of the Frank Lautenberg Chemical Safety for the Twenty First
11
     Century Act for over a decade. ADAO is based in Redondo Beach, California.
12
            13.     Plaintiff America Public Health Association (APHA) champions the health of all people
13

14   and all communities, strengthens the profession of public health, shares the latest research and

15   information, promotes best practices, and advocates for public health policies grounded in research.

16   APHA represents over 20,000 individual members and is the only organization that combines a nearly
17   150-year perspective and a broad-based member community with an interest in improving the public’s
18
     health. APHA has long advocated for policies to protect the public from exposure to harmful chemicals
19
     and other hazardous substances, including asbestos. APHA is based in Washington DC.
20
            14.     Plaintiff Center for Environmental Health (CEH) is a non-profit organization working to
21

22   protect children and families from harmful chemicals in air, food, water and in everyday products. Its

23   vision and mission are a world where everyone lives, works, learns and plays in a healthy environment; it

24   protects people from toxic chemicals by working with communities, businesses, and the government to
25
     demand and support business practices that are safe for human health and the environment. CEH is
26
     headquartered in Oakland, California.
27
            15.     Plaintiff   Environmental   Information    Association (EIA)      collects,   generates and
28

                                                        4
                                                    COMPLAINT
                     Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 5 of 15



     disseminates information concerning environmental and occupational health hazards in the built
 1
     environment to property owners and operators, interested professionals and the public. EIA members are
 2

 3   companies, organizations and persons involved in the remediation of environmental hazards from

 4   buildings and facilities, including contractors, consultants, laboratories, training providers, regulators,
 5   equipment suppliers, owners and managers. Many EIA members are engaged in remediation of asbestos
 6
     in buildings and EIA has a significant interest in a full evaluation of the health risks from use and disposal
 7
     of legacy asbestos. EIA is headquartered in Chevy Chase, Maryland.
 8
            16.      Plaintiff Vermont Public Interest Research Group (VPIRG) is a tax-exempt, nonprofit
 9

10   membership organization that is incorporated under the laws of the State of Vermont. VPIRG was

11   established in 1972 and is Vermont’s largest environmental and consumer advocacy organization. VPIRG

12   has approximately 55,000 members and supporters throughout Vermont who have been active with the
13   organization.   VPIRG’s mission is to promote and protect the health and well-being of Vermont’s
14
     environment, people, and locally based economy by informing and mobilizing citizens statewide.
15
     Ensuring the proper regulation of toxic chemicals in Vermont falls well within this mission.
16
            17.      Plaintiff Safer Chemicals, Healthy Families (SCHF) fights for strong chemical policy,
17

18   works with retailers to phase out hazardous chemicals and transform the marketplace, and educates the

19   public about ways to protect our families from toxic chemicals. SCHF leads a coalition of 450

20   organizations and businesses united by a common concern about toxic chemicals in their homes, places of
21
     work, and products we use every day. SCHF is based in Washington DC.
22
            18.      Plaintiff Barry Castleman, ScD is an Environmental Consultant trained in chemical and
23
     environmental engineering. He holds a Doctor of Science degree from the Johns Hopkins School of Public
24
     Health. He has been a consultant to numerous agencies of the US government and other governments,
25

26   international bodies, and environmental groups dealing with a wide range of public health issues. He has

27   testified as an expert in civil litigation in the US on the history of asbestos as a public health problem and
28

                                                         5
                                                     COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 6 of 15



     the reasons for failure to properly control asbestos hazards. Dr. Castleman has spent the past 40 years
 1
     working on asbestos as a public health problem.
 2

 3          19.     Plaintiff Raja Flores, MD, is the Chairman for the Department of Thoracic Surgery at Mt.

 4   Sinai Medical Center and ADAO Science Advisory Board Co-Chair Member. Raja is a recognized leader
 5   in the field of thoracic surgery for his pioneering efforts in the treatment of mesothelioma. Dr. Flores’
 6
     research interests include numerous past projects relating to the multimodality management of malignant
 7
     pleural mesothelioma. He helped pioneer the use of intraoperative chemotherapy for mesothelioma, and
 8
     led a multi-center trial designed to improve patient outcomes. He changed the surgical management of
 9

10   pleural mesothelioma cancer with a landmark study comparing extrapleural pneumonectomy and

11   pleurectomy/decortication. An expert in his field, Dr. Flores has appeared on many national and local

12   television news reports to discuss mesothelioma. With over 250 related publications to date, his energies
13   and commitment to the plight of mesothelioma patients remains paramount.
14
            20.     Plaintiff Arthur L. Frank, MD, PhD, is a physician board certified in both internal medicine
15
     and occupational medicine and currently serves as Professor of Public Health and Chair Emeritus of the
16
     Department of Environmental and Occupational Health at the Drexel University School of Public Health
17

18   in Philadelphia. He is also a Professor of Medicine (Pulmonary) at the Drexel College of Medicine. He

19   also holds a position at Drexel as Professor of Civil, Architectural and Environmental Engineering. A life-

20   long academic, Dr. Frank has previously taught at Mount Sinai, the University of Kentucky and in the
21
     University of Texas System. He has served many governmental agencies in the US and has carried out
22
     research and has been a governmental advisor internationally. Trained in both occupational medicine and
23
     internal medicine, Dr. Frank has been interested in the health hazards of asbestos for more than 35 years.
24
     He has published a great deal of work on the hazards of asbestos, and clinically cared for asbestos affected
25

26   patients. He has lectured internationally about the problems of asbestos, and worked in many settings

27   looking at the diseases caused by this material. His research interests have been in the areas of
28   occupational cancers and occupational lung diseases, as well as agricultural safety and health. For thirty-
                                                        6
                                                    COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 7 of 15



     seven years he held a commission in the U S Public Health Service (active and inactive) and served on
 1
     active duty both at the NIH and at NIOSH. Arthur is the ADAO Science Advisory Board Co-Chair.
 2

 3          21.     Plaintiff Philip J. Landrigan, MD, MSc is a pediatrician and epidemiologist who directs the

 4   Program for Global Public Health and the Common Good and the Global Observatory on Pollution and
 5   Health at Boston College. For four decades, Dr. Landrigan has undertaken research elucidating
 6
     connections between the environment and human health and translated this research into disease
 7
     prevention policies. Dr. Landrigan was a Professor at the Icahn School of Medicine at Mount Sinai in
 8
     New York from 1985 to 2018, where he served as Chairman of Preventive Medicine and Dean for Global
 9

10   Health. From 2015-2018, Dr. Landrigan co-chaired The Lancet Commission on Pollution and Health. This

11   Commission found that pollution is responsible for 9 million premature deaths each year and for

12   enormous economic losses. Dr. Landrigan served on active duty in the US Public Health Service from
13   1970 to 1985 and in the Medical Corps of the United States Naval Reserve from 1996 to 2005.
14
            22.     Plaintiff Richard Lemen, PhD, MSPH, is a retired Assistant Surgeon General of the United
15
     States and also served as the Acting Director and the Deputy Director of the National Institute for
16
     Occupational Safety and Health before his retirement. He has been a practicing epidemiologist for more
17

18   than forty years, and has taught graduate level courses on environmental and occupational health issues,

19   including asbestos, at the Rollins School of Public Health at Emory University. He has also testified on

20   behalf of asbestos victims; Dr. Lemen is a world-renowned author, speaker, and lecturer on this topic.
21
            23.     Plaintiff Celeste Monforton, DrPH, MPH, ADAO Prevention and Scientific Advisory
22
     Board Liaison is a lecturer in public health at Texas State University. Her research includes assessment of
23
     worker health and safety laws and policies, and their effectiveness in protecting workers from illnesses,
24
     disability and death. She has published articles on strategies used by economic interests, including the
25

26   asbestos industry, to manipulate scientific evidence to create uncertainty about health risks in order to

27   delay protective regulatory action and compensation. Prior to her academic appointment, Dr. Monforton
28   was a federal employee at the U.S. Department of Labor’s Occupational Safety and Health Administration
                                                        7
                                                    COMPLAINT
                     Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 8 of 15



     (OSHA, 1991-1995) and Mine Safety and Health Administration (MSHA, 1996-2001). Dr. Monforton
 1
     served on the special panels appointed by the West Virginia Governor to investigate the January 2006
 2

 3   Sago coal mine disaster that took the lives of 12 workers, and the April 2010 disaster at Massey Energy’s

 4   Upper Big Branch mine that killed 29 workers. Dr. Monforton is an active member of the American
 5   Public Health Association, and serves in a leadership position with the organization’s Occupational Health
 6
     and Safety Section.
 7
            24.      Defendant Michael Regan, named in his official capacity as Administrator of EPA, has
 8
     authority for the implementation of TSCA and is responsible for assuring that the Agency exercises its
 9

10   responsibilities under TSCA in compliance with the law.

11          25.      Defendant EPA is an agency of the United States Executive Branch and, under the

12   direction of Administrator Regan is charged with implementing the provisions of TSCA.
13

14                                        STATUTORY BACKGROUND

15
            26.      TSCA was enacted in 1976 to create a national program for assessing and managing the
16
     risks of chemicals to human health and the environment. Among the goals stated in TSCA section 2(b), 15
17

18   U.S.C. §2601(b), are that: (1) “adequate information should be developed with respect to the effect of

19   chemical substances and mixtures on health and the environment” and (2) “adequate authority should exist

20   to regulate chemical substances and mixtures which present an unreasonable risk of injury to health or the
21
     environment.”
22
            27.      Despite the high hopes of Congress for effective action, progress in regulating unsafe
23
     chemicals under the 1976 law was disappointing. A major setback involved EPA’s unsuccessful efforts to
24
     protect against the dangers of asbestos. In 1989, the Agency issued a rule under section 6(a) of TSCA
25

26   prohibiting manufacture, importation, processing or distribution in commerce of asbestos in almost all

27   products based on a determination that they presented an “unreasonable risk of injury” under TSCA
28   section 6. However, the Fifth Circuit Court of Appeals overturned the ban in 1991 because EPA had
                                                        8
                                                    COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 9 of 15



     failed to clear several difficult analytical hurdles in the law. Corrosion Proof Fittings v. EPA, 947 F.2d
 1
     1201 (5th Cir. 1991).
 2

 3          28.     Over time, the asbestos court decision became the poster child for the inability of TSCA to

 4   support meaningful action on unsafe chemicals. After a multi-year effort to overhaul and strengthen its
 5   key provisions, TSCA was amended by the Frank R. Lautenberg Chemical Safety for the 21st Century Act
 6
     (“LCSA”), which took effect on June 11, 2016.
 7
            29.     These TSCA amendments enhance the chemical regulatory authorities in section 6 by
 8
     establishing a new integrated process for (1) prioritizing chemicals, (2) conducting risk evaluations on
 9

10   high- priority chemicals and (3) promulgating rules under section 6(a) to eliminate unreasonable risks

11   identified in risk evaluations. Congress set strict deadlines for each of these steps and directed EPA to

12   address a minimum number of chemicals by these deadlines. It also removed the impediments to effective
13   regulation created by the Corrosion Proof Fittings decision by eliminating any consideration of costs and
14
     other non-risk factors in determining whether chemicals present an unreasonable risk of injury and
15
     directing EPA to impose requirements “necessary so that the chemical no longer presents such
16
     [unreasonable] risk.”
17

18          30.     TSCA section 6(b)(4)(A) provides that the “Administrator shall conduct risk evaluations . .

19   . to determine whether a chemical substance presents an unreasonable risk of injury to health or the

20   environment . . . under the conditions of use” (emphasis added).
21
            31.     Under TSCA section 3(4), the term “conditions of use” means “the circumstances, as
22
     determined by the Administrator, under which a chemical substance is intended, known, or reasonably
23
     foreseen to be manufactured, processed, distributed in commerce, used, or disposed of.”
24
            32.     Section 6(b)(4)(G) of TSCA provides that EPA “shall complete a risk evaluation . . . not
25

26   later than 3 years after the date on which [it] initiates the risk evaluation” (emphasis added). The Agency

27   “may extend the deadline for a risk evaluation for not more than 6 months.”
28

                                                         9
                                                     COMPLAINT
                     Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 10 of 15



                                 THE DEADLY PROPERTIES OF ASBESTOS
 1
             33.      The International Agency for Research on Cancer (IARC), 1 the National Toxicology
 2

 3   Program (NTP),2 the Occupational Safety and Health Administration (OSHA”, 3 the National Institute for

 4   Occupational Safety and Health (NIOSH),4 the World Health Organization (WHO)5 and a number of other
 5   regulatory and public health bodies recognized asbestos as a human carcinogen decades ago.
 6
             34.      In its most recent monograph on asbestos published in 2012, IARC found the following
 7
     cancers in humans to be causally related to asbestos exposure: lung cancer, malignant mesothelioma,
 8
     ovarian cancer, and cancer of the larynx.6 There is considerable evidence in the scientific literature of
 9

10   causal associations with gastro-intestinal cancers and kidney cancer. Non-malignant diseases are also

11   caused by asbestos. These include asbestosis and asbestos-related pleural thickening. 7

12           35.      All fiber types in commercial use have been linked causally with each of these diseases and
13   are regulated accordingly by OSHA and other government agencies.
14
             36.      Despite the voluntary elimination of many asbestos products, the death toll from asbestos
15
     exposure remains high and is increasing. In 2018, Dr. Jukka Takala DSc, MSc, BSC, President of the
16
     International Commission of Occupational Health (“ICOH”), reported a significant increase in previous
17

18   estimates of asbestos-related deaths. According to Dr. Takala’s recently published research, asbestos-

19

20

21   1
       "IARC Monographs—Arsenic, Metals, Fibres, and Dusts, Volume 100 C. A Reviews of Human Carcinogens," in "IARC
     Monographs on the Evaluation of Carcinogenic Risks to Humans. International Agency for Research on Cancer, World Health
22   Organization.," International Agency for Research on Cancer2012, Available:
     http://monographs.iarc.fr/ENG/Monographs/vol100C/mono100C.pdf.
23   2
       National Toxicology Program (NTP). Asbestos. Report on Carcinogens, Fourteenth Edition. US DHHS, 2016.
     3
       Occupational Safety and Health Administration (OSHA). Occupational exposure to asbestos. Final rule. 29 CFR Parts 1910, et
24   al. Federal Register, August 10, 1994.
     4
       National Institute for Occupational Safety and Health (NIOSH). Asbestos fibers and other elongate mineral particles: state of
25   the science and roadmap for research. Current Intelligence Bulletin 62. US DHHS, 2011.
     5
       WHO. International Agency for Research on Cancer (IARC) Monograph. Asbestos (chrysotile, amosite, crocidolite, tremolite,
26   actinolite, and anthophyllite). Vol 100C, 2012.
     6
       "Elimination of asbestos-related diseases," World Health Organization Geneva2014, Available:
27   http://www.who.int/ipcs/assessment/public_health/Elimination_asbestosrelated_diseases_EN.pdf?ua=1.
     7
       Dr. L. Christine Oliver, The Threat to Health Posed by Asbestos in the 21st Century in the United States, March 29, 2018,
28   EPA-HQ-OPPT-2016-0736-0124

                                                                10
                                                             COMPLAINT
                     Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 11 of 15



     related diseases cause 39,275 deaths in the United States annually - more than double the previous
 1
     estimates of 15,000 per year.8
 2

 3                              PUBLIC HEALTH IMPACT OF LEGACY ASBESTOS

 4           37.      A wide range of asbestos-containing products––including attic and wall insulation, pipes
 5   and boilers, floor tiles, gaskets, roofing, shingles and siding and brake pads and linings––were distributed
 6
     in commerce for several decades during the 20th century. Although sales started declining in the 1980s,
 7
     these products were heavily used over several decades in constructing homes, schools, apartments, public
 8
     buildings, offices, stores, and factories, remaining in place today in millions of structures across the
 9

10   country.

11           38.      Due to an aging infrastructure, friable asbestos is can be released into the air when

12   disturbed during routine building maintenance and upkeep. Exposure can also occur when building
13   materials are broken or torn apart during renovation, repair and demolition projects and the collection and
14
     removal of construction debris.
15
             39.      The incidence of asbestos-related disease is elevated in populations with exposure to legacy
16
     asbestos. A study by NIOSH researchers examined cancer incidence and mortality among firefighters in
17

18   San Francisco, Chicago, and Philadelphia and found that “the population of firefighters in the study had a

19   rate of mesothelioma two times greater than the rate in the U.S. population as a whole.” 9 Studies have

20   also found that schoolteachers, particularly in elementary and middle schools, are at higher risk of
21
     mesothelioma than the general population, due to the widespread presence of asbestos in schools built in
22
     the 1960s and 1970s and their poor record of asbestos abatement. 10 While OSHA standards apply to
23
     worker exposure to legacy asbestos, OSHA has recognized that these standards do not eliminate
24
     significant occupational risks. Another source of widespread exposure is asbestos-containing debris that
25

26   8
       S. Furuya, O. Chimed-Ochir, K. Takahashi, A. David, and J. Takala, "Global Asbestos Disaster," International Journal of
     Environmental Research and Public Health, vol. 15, no. 5, p. 15, 2018.
27   9 R. D. Daniels et al., "Mortality and cancer incidence in a pooled cohort of US firefighters from San Francisco, Chicago and

     Philadelphia (1950-2009)," Occupational and Environmental Medicine, vol. 71, no. 6, pp. 388-397, Jun 2014.
28   10 https://www.inquirer.com/education/a/mesothelioma-philadelphia-school-district-lea-dirusso-cancer-20191121.html



                                                                11
                                                             COMPLAINT
                   Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 12 of 15



     enters waste streams during building renovation and demolition. Asbestos waste continues to be generated
 1
     and managed in the U.S. in significant quantities. According to reports submitted for the EPA Toxic
 2

 3   Release Inventory (TRI) in 2017, total asbestos releases for 2017 were 20,556,023 pounds, the bulk of

 4   which (92.8%) were on-site land releases. 11 Because of limitations in the scope of TRI reporting, the
 5   quantity of asbestos waste generated is probably much larger. The movement of asbestos waste in
 6
     commerce and poor waste management at landfills and construction sites are a significant danger to
 7
     workers and the public.
 8
                                 EPA ACTIONS ON ASBESTOS UNDER TSCA
 9

10          40.     TSCA section 6(b)(2)(A) requires EPA to initiate risk evaluations on 10 chemical

11   substances within 180 days of the enactment of 2016 TSCA amendments.

12          41.     TSCA section 6(b)(2)(A) requires EPA to select 10 chemicals to undergo risk evaluations
13   and to initiate these evaluations within 180 days of the enactment of the amended law.
14
            42.     These 10 chemicals, announced by EPA in December 2016, included asbestos. 81 Federal
15
     Register 91927 (December 19, 2016).
16
            43.     As EPA began work on the 10 chemicals, it issued a “framework” rule in July 2017
17

18   establishing the approach it would follow in conducting risk evaluations. The preamble to the rule stated

19   that EPA did not consider “legacy activities”—consisting of “legacy uses,” “associated disposals,” and

20   “legacy disposals”—to be TSCA conditions of use. 82 Fed. Reg. 33726, 33729–30 (July 20, 2017). It
21
     defined the term “legacy uses” as “the circumstances associated with activities that do not reflect ongoing
22
     or prospective manufacturing, processing, or distribution.” Id.
23
            44.      EPA relied on this interpretation to exclude legacy activities from its asbestos risk
24
     evaluation. In its June 2017 scoping document, EPA stated that, “[i]n the case of asbestos, legacy uses and
25

26   associated and legacy disposals will be excluded from the scope of the risk evaluation.”

27   11
       https://www.epa.gov/sites/production/files/2020-
     02/documents/2017_toxics_release_inventory_national_analysis_complete_report.pdf#:~:text=%20%20%20Title%20%20%20
28   2017%20Toxics,Created%20Date%20%20%202/26/2019%205:31:05%20PM.

                                                         12
                                                      COMPLAINT
                    Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 13 of 15



             45.     EPA reaffirmed this exclusion in its May 2018 problem formulation for asbestos,
 1
     explaining that it would not address “pre-existing materials currently in place within buildings (e.g.,
 2

 3   insulation materials, flooring, etc.) and also within pre-existing non-building equipment” because “[t]hese

 4   materials were installed in the past, and there is no evidence to suggest that manufacturing, processing, or
 5   distribution for such activities is intended, known, or reasonably foreseen.”
 6
             46.     In its November 14, 2019 decision, the Court of Appeals for the Ninth Circuit held “that
 7
     EPA’s exclusion of legacy uses and associated disposals contradicts TSCA’s plain language.” Safer
 8
     Chemicals, Healthy Families v USEPA, 943 F.3d 397, 421 (9th Cir. 2019). As it explained:
 9

10           “EPA’s contention that TSCA can reasonably be read to refer to the future use of a product, and
             disposals associated with such use, only when the product will also be manufactured in the future
11           for that use—and not when the product is no longer manufactured for the relevant use—is without
             merit. TSCA’s “conditions of use” definition plainly addresses conditions of use of chemical
12           substances that will be used or disposed of in the future, regardless of whether the substances are
             still manufactured for the particular use.”
13

14   Id at 424.

15           47.     The Court was well aware that its conclusion applied to asbestos, noting that “[f]or

16   example, although asbestos is now infrequently used in making new insulation, it remains in place in
17   previously installed insulation” (id. at 421) and that “future disposal of asbestos insulation . . .
18
     unambiguously falls within TSCA’s definition of ‘conditions of use’” (id. at 424).
19
             48.     The Trump EPA issued its FRE for asbestos on December 30, 2020 and announced its
20
     availability in the Federal Register on January 4, 2021. 86 Federal Register 89. Described by EPA as a
21

22   “Part 1” evaluation, the FRE did not address the health impacts of legacy asbestos uses and associated

23   disposal. The Agency stated its intent to conduct a future “Part 2” evaluation focused on legacy asbestos

24   but provided no specifics about how it would be conducted and failed to set a schedule for completing it.
25
                                               CLAIM FOR RELIEF
26
             49.     Plaintiffs hereby incorporate by reference the allegations contained in paragraphs 1 through
27
     49 as if fully set forth herein.
28

                                                        13
                                                     COMPLAINT
                  Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 14 of 15



            50.     In a suit by “any person,” TSCA section 20(a)(2) authorizes the Court, “to compel the
 1
     Administrator to perform any act or duty under this Act which is not discretionary.”
 2

 3          51.     Under section 20(b)(2), to invoke this remedy, the plaintiff must give notice to the

 4   Administrator of the alleged failure to carry out a mandatory act or duty at least 60 days before
 5   commencing a civil action.
 6
            52.     Plaintiffs complied with this notification requirement in a letter to defendants dated January
 7
     26, 2021.
 8
            53.     In section 6(b)(4)(A) of TSCA, Congress directed that EPA “shall conduct risk evaluations
 9

10   . . . to determine whether a chemical substance presents an unreasonable risk of injury to health or the

11   environment . . . under the conditions of use” (emphasis added).

12          54.     Under the Ninth Circuit decision holding that use and disposal of legacy asbestos are
13   “conditions of use” as defined in TSCA, EPA has a non-discretionary obligation to determine whether
14
     these activities present an unreasonable risk of injury to human health and the environment.
15
            55.     Section 6(b)(4)(G) provides that EPA “shall complete a risk evaluation . . . not later than 3
16
     years after the date on which [it] initiates the risk evaluation” (emphasis added). The Agency “may extend
17

18   the deadline for a risk evaluation for not more than 6 months.”

19          56.     With this extension, the deadline for completing the asbestos evaluation was June 19, 2020.

20          57.     By failing to evaluate the risks of use and disposal of legacy asbestos, defendants violated
21
     their non-discretionary duty under section 20(a)(2) to complete a full asbestos risk evaluation in
22
     accordance with TSCA by this deadline.
23

24                                         REQUEST FOR RELIEF
25
            WHEREFORE, plaintiffs respectfully request judgment in their favor and against defendants upon
26
     their claims and, further, request that this Honorable Court enter judgment against defendants:
27
                    (1) Declaring that (i) defendants were required by TSCA complete a complete evaluation
28

                                                        14
                                                     COMPLAINT
           Case 4:21-cv-03716-PJH Document 1 Filed 05/18/21 Page 15 of 15




 1             of the health risks of asbestos under its conditions of use, including the use and disposal

 2             of “legacy asbestos” previously installed in buildings, by June 19 2020, (ii) defendants

 3             did not carry out this obligation as required by TSCA, and (iii) defendants therefore

 4             failed to perform an act or duty under TSCA which is non-discretionary within the

 5             meaning of section 20(a)(2);

 6          (2) Ordering defendants to complete the asbestos risk evaluation as required by TSCA by

 7             addressing the health risks of the use and disposal of legacy asbestos;

 8          (3) Setting enforceable deadlines for determining the scope of this risk evaluation as

 9             required by section 6(b)(4)(D) and issuing a draft and final evaluation in accordance

10             with section 6(b)(4)(G);

11          (4) Awarding plaintiffs their costs of suit and reasonable fees for attorneys and expert

12             witnesses in this action pursuant to 15 U.S.C. § 2619(c)(2); and

13          (5) Granting plaintiffs such further and additional relief as the Court may deem just and

14             proper.

15   Respectfully submitted this 18th day of May 2021.

16                                LOZEAU DRURY LLP
17

18
                                  __________________________
19                                RICHARD TOSHIYUKI DRURY
                                  1939 Harrison Street, Suite 150
20                                Oakland, CA 94612
21                                ROBERT M. SUSSMAN
                                  SUSSMAN & ASSOCIATES
22
                                  3101 Garfield Street, NW
23                                Washington, DC 20008
                                  (202) 716-0118
24                                Attorneys for Plaintiffs
25

26

27

28

                                                 15
                                              COMPLAINT
